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                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   (Alexandria Division)

 CURTIS LEVAR WELLS, JR.,                           )
 Plaintiff,                                         )
                                                    )
 v.                                                 )   Case No. 1:22-cv-00140-MSN-IDD
                                                    )   Next Event: Motion Hearing
 JAVIER FUENTES, et al.,                            )                December 16, 2022
 Defendants                                         )
                                                    )

                     PLAINTIFF’S MEMORANDUM IN OPPOSITION TO
                    DEFENDANT ACPD OFFICERS’ MOTION TO DISMISS

          COMES NOW Plaintiff, Curtis Wells, by and through counsel and for his Memorandum

 in Opposition to Defendants Fuentes, Lugasi, Soules, Kline, and Vanak’s (“ACPD Officers’”)

 Motion to Dismiss (Dkt. No. 59), and therefore, respectfully states as follows:

          In the interests of brevity and not repeating briefing commonly applicable, Plaintiff

 incorporates by this reference Plaintiff’s Memorandum in Opposition to Defendant County of

 Arlington’s Motion to Dismiss; incorporating, as if restated herein in its entirety, Plaintiff’s

 Introduction, Factual Background, and Legal Standard stated therein.



                                             ARGUMENT

          SECTION I – CONCERT OF ACTION.1

          “Persons who concurrently violate others’ civil rights are jointly and severally liable for

 injuries that cannot be apportioned.” Northington v. Marin, 102 F.3d 1564, 1569 (10th Cir.

 1996). “1983 should be read against the background of tort liability that makes a man

 responsible for the natural consequences of his actions. Since the common law recognized the


 1
     Plaintiff responds, seriatim, to the ACPD Officers’ Argument section.
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 causal link between the submission of a complaint and an ensuing arrest, we read § 1983 as

 recognizing the same causal link.” Malley v. Briggs, 475 U.S. 335, 344 n.7, 106 S. Ct. 1092,

 1098 (1986). Joint and several liability by concert of action is a method by which to demonstrate

 each tortfeasor is responsible for the natural results of their torts. The ACPD Officers argue in

 their brief that there can be no claim of concert of action and relies upon a series of cases

 correctly stating that civil rights allegations are personal in nature; however, that applies only in

 showing that they individually violated civil rights by their actions and the natural consequences

 of their actions; there can be no horizontal vicarious liability, and Plaintiff does not allege

 vicarious liability in the present context.

         Defendants’ case citations are misplaced; the Arebaugh v. Dalton opinion, for example, is

 construing whether to apply vicarious liability; it does not construe joint and several liability or

 concert of action of joint tortfeasors in a civil rights matter. 600 F. Supp. 1345, 1348 (E.D. Va.

 1985). The Wright v. Collins opinion construes whether an inmate proceeding pro se had

 properly alleged a class action lawsuit and construed the application of respondeat superior

 liability; it does not consider joint and several liability or concert of action of joint tortfeasors in

 a civil rights matter causing an indivisible injury. 766 F.2d 841, 850 (4th Cir. 1985).

         In the instant case, Plaintiff’s SAC sufficiently alleges that each ACPD Officer on

 February 9, 2020, set into motion, through their individual conduct of unlawfully seizing Mr.

 Wells and his property, the reasonably foreseeable course of events that followed. Prejudging

 Mr. Wells to be a “fucking bullshitter”2 and committed to arresting him, they took some, but not

 all, of his personal property in an effort to find something on which he could be arrested. SAC



 2
  The Officer’s comments can be heard on the recording attached as Exhibit 1 to ACDP Officers’
 Motion to Dismiss. 60-1 at 5:15 PM.
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 ¶¶ 45-54, 63-79. This course of conduct and natural result of each of their individual conduct as

 is well-pleaded in Plaintiff’s SAC and is confirmed by Wanek’s efforts the very next day to

 further investigate the items taken in the pretextual seizure with plenty of time to seek a warrant

 if he had probable cause.

        The reasonable officer would know if they seized Mr. Wells’ property and provided false

 or misleading notes and summations of their encounter with Mr. Wells on February 9, 2020, the

 natural result of such conduct and reports would be used in the malicious prosecution to follow.



        SECTION II – ACPD OFFICERS’ QUALIFIED IMMUNITY.

        The ACPD Officers seek dismissal of the 1983 civil rights claims, Count One and Count

 Two, based upon Qualified Immunity. The ACPD Officer Defendants correctly cite to the Court

 the two-pronged approach of determining whether the facts make out a violation of a

 constitutional right and whether the right in question was clearly established at the time of the

 events. However, Qualified Immunity does not protect officers who knowingly violate the law

 or are plainly incompetent. Ashcroft v. al-Kidd, 563 U.S. 731, 743 (2011). The ACPD Officers’

 actions were unreasonable mistakes, or worse, and thus Qualified Immunity does not protect

 them from suit or liability. See Henry v. Purnell, 652 F.3d 524, 534-35 (4th Cir. 2011). The

 burden of establishing a qualified immunity defense is on the ACPD Officers. Wingate v.

 Fulford, 987 F.3d 299, 311 (4th Cir. 2021).

        As detailed more fully below, the conduct of the ACPD officers on February 9, 2020, was

 either an intentional pretextual search of Mr. Wells’ property to rummage through it to find

 potential contraband or evidence of a crime, or it was so grossly incompetent or an intentional




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 deprivation of the Fourth Amendment that Qualified Immunity will not protect them from suit or

 liability.



         SECTION III. A – FUENTES’ RELIANCE UPON ARMSTRONG.

         The ACPD Officers’ detention of Plaintiff was a violation of the Fourth Amendment if

 they relied upon Armstrong, because, Armstrong had no reasonable suspicion or probable cause.

 See Whiteley v. Warden, Wyo. State Penitentiary, 401 U.S. 560, 564–69 (1971) (recognizing that

 a necessary condition of the Fourth Amendment violation was that the arresting officer lacked

 probable cause).

         Fuentes, in discussing his conduct as the first ACPD Officer on the scene, appears to

 defend his actions on February 9, 2020, in detaining Mr. Wells as a continuation of Armstrong’s

 choice to detain Mr. Wells; this is a factual dispute between the two Defendants. Armstrong

 claims he made no action that can be construed as a traffic stop or detention. (Federal

 Defendants’ Memorandum of Law, Dkt No. 57 at 3-4, 18-19). Such disagreement between

 Armstrong and Fuentes is a factual dispute that should be put to a jury. Did Armstrong effect a

 Terry stop? Did Armstrong inform Fuentes that he had reasonable suspicion for a Terry stop?

 Who is more believable on this topic, Mr. Wells’ well-pleaded allegations together with Fuentes’

 testimony on August 17, 2020, or Armstrong’s testimony that he reversed his vehicle then

 contacted the ACPD? At this stage, the SAC contains well-pleaded allegations that Armstrong

 placed Plaintiff in the reasonable apprehension that he was not permitted to leave, and

 Armstrong lacked any reasonable suspicion or probable cause to do so. SAC ¶¶ 35 – 39.

         If a jury believes Armstrong’s testimony that he did not conduct a stop and that

 Armstrong moved his vehicle away from Mr. Wells’ vehicle and thereafter contacted the ACPD,

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 then Fuentes’ justification fails in attempting to justify his seizure of Plaintiff as a continuation

 of Armstrong’s alleged reasonable suspicion to seize Mr. Wells. At this stage, Fuentes should

 not be asking the Court to resolve this factual contest. See Republican Party v. Martin, 980 F.2d

 943, 952 (4th Cir. 1992). Furthermore, Fuentes attempts to argue that he cannot be held liable on

 this Fourth Amendment claim because he reasonably relied in good faith upon the report of

 Armstrong – again this creates a factual dispute for the Court to resolve on the instant Motion.

 Armstrong emphatically asserted that he provided no information to Fuentes and there was no

 stop in progress when Fuentes arrived. (Federal Defendants’ Memorandum of Law, Dkt No. 57

 at 3-4, 18-19).

        Ultimately, the cases referenced by Fuentes relate to ongoing urgent issues such as

 struggles with an officer’s foot wedged in a door and in that scenario, he radioed for help

 (Guerrero v. Deane),3 officers assisting to execute an arrest warrant, (Whiteley v. Warden),4 and

 when the first officer on the scene actually conducted an investigation and stated to the

 subsequent three officers that probable cause existed (Ware v. James City Cty.).5 No such

 urgency or emergency exists in the instant case.

        Fuentes is asking the Court to resolve factual disputes to find one version of the events

 existed when the briefing before the Court contradict each other. The Court should disregard

 Fuentes’ request and assume the well-pleaded facts in the SAC are true.

        In the instant case, Armstrong was not executing a warrant, was not in a fight or struggle

 with Mr. Wells, and Mr. Wells was not resisting or evading. Armstrong also claimed, under




 3
   Guerrero v. Deane, 750 F. Supp. 2d 631, 652 (E.D. Va. 2010).
 4
   Whiteley v. Warden, 401 U.S. 560, 568, 91 S. Ct. 1031, 1037 (1971).
 5
   Ware v. James City Cty., 652 F. Supp. 2d 693, 703 (E.D. Va. 2009).
                                                 5
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 oath, that he made no report to Fuentes and wanted Fuentes to make his own determination of the

 facts. Mot. To Suppress Hrn’g. Tr. 51:14 – 53:4, August 17, 2020.

        Fuentes’ had no good-faith basis to rely on Armstrong and is obligated by the Fourth

 Amendment’s clear import to conduct his own reasonable suspicion calculation prior to effecting

 a Terry stop, removing Mr. Wells from his vehicle, and searching his vehicle. Fuentes had no

 reasonable action other than to issue citations for an expired temporary tag and failure to show a

 driver’s license and he should have sent Mr. Wells on his way.



        SECTION III. B – AN INVENTORY SEARCH OR PRETEXTUAL
        RUMMAGING.

        The ACPD Officers argue to the Court that they reasonably believed they were

 conducting an inventory search of the Mustang. The allegations in the SAC, and the

 documentation presently available, do not bear out the Inventory Search Exception in this case.

 By default, all searches without a warrant or consent are unreasonable. See South Dakota v.

 Opperman, 428 U.S. 364, 369, 381 (1976). There was no consent for the searches and seizures

 on February 9, 2020. SAC ¶¶ 49, 55, and 57.

        The police, then, bear a necessarily difficult challenge of proving that they had some

 good-faith exception to the mandates of the Fourth Amendment. The ACPD Officers assert they

 were conducting an inventory search of the Mustang; however, such exception requires an actual

 inventory of all items in the vehicle, which was not done, and it must be done according to

 departmental policies, which was not done, after the vehicle was in police custody and impound

 lot, which was not done and the officers stated on February 9, 2020, their contemporaneous

 knowledge that the Mustang was not being towed to the impound lot.



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        To guard against claims of theft, vandalism, or negligence by the police, they should

 have, as required, inventoried and taken for safekeeping all items in the vehicle. They neither

 took all valuable items nor all dangerous items on February 9, 2020. The ACPD officers then

 removed Mr. Wells’ handcuffs and sent him on his way to ride with the tow-truck driver to his

 apartment with some valuable and dangerous items put back in Mr. Wells’ trunk.

        One officer is heard on the recording confirming the foregoing, in contradiction to the

 ACPD Officers’ arguments and allegations, that at least some of his property is being put back

 into his trunk. Dkt. No. 60-1 at 5:26 PM. Furthermore, as they were departing, one officer is

 even heard reminding Mr. Wells not to forget his laptop. Dkt. No. 60-1 at 5:28 PM. These facts

 specifically undermine the Defendants’ argument that the Inventory Search Exception applies –

 the officers’ actual conduct demonstrated they did not conduct an inventory of the vehicle for the

 purposes of impounding it. Mr. Wells, for example, could have claimed such laptop and items in

 the trunk were stolen by the police because they did not conduct an inventory, one of the primary

 three purposes of the procedural nature of the inventory search exception.

        It is also conspicuous that, despite clear reference to it in Plaintiff’s SAC, the ACPD

 Officers did not attach any evidence of the relevant departmental policies applicable at the time.

 This issue, then, is ripe for discovery and Plaintiff must be given the opportunity to discover and

 put on expert witness testimony of such policies and whether they were followed. To the best of

 Plaintiff’s present knowledge, one of the primary requirements of the ACPD policy is that the

 proper impound form be completed, as was done on February 20, 2020, for the Pontiac seized by

 Barnickle on February 18, 2020. No such form was completed on February 9, 2020, for

 Plaintiff’s Mustang. Expert witness testimony from Plaintiff’s expert is anticipated to be that the

 reasonable officer would rely on the regular training he receives to know what an impound

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 means, to know what an inventory of a vehicle means, what the standard policies and procedures

 are, and that personal property may not be taken as a mere ruse to attempt to discover inculpatory

 evidence or non-obvious contraband.

        The Fourth Circuit and the Supreme Court cases regarding Inventory Searches all require

 the vehicle must first be in police custody, thus creating the primary tripartite purpose for the

 inventory exception. See, inter alia, United States v. Brown, 787 F.2d 929, 931-32 (4th Cir.

 1986). The three valid purposes that give rise to the inventory search exception come from (1)

 the need to protect the car owner’s property within the vehicle while in the police impound lot,

 (2) to protect against claims of theft or damage against the police by the owner, and (3) to protect

 police from potential danger, such as bombs in the car. See South Dakota v. Opperman, 428

 U.S. 364, 369 (1976).

        In this case, on February 9, 2020, the ACPD officers did not secure or take into

 safekeeping all of Mr. Wells’ property in his Mustang and did not do a written inventory of what

 was taken by police, thus negating the first purpose, did not do a written impound form

 indicating what was inventoried, thus negating the second purpose of protecting the officers from

 claims they stole or damaged the property, and because it was not towed to the impound lot and

 not taken into police custody, and they knew they were not going to impound the Mustang, there

 was no need to inventory the vehicle to ensure there were no bombs in it while in the impound

 lot, thus negating the third purpose.

        Defendants’ memorandum contains only a partial quote from Plaintiff’s SAC on this

 topic. (Dkt. No. 60 at 22). Defendants provide a misleadingly partial quote that the ACPD

 Officers “knew that the Mustang was not going to be towed…” Id. The full quote of Plaintiff’s

 SAC that the Defendants should have provided is:

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        The ACPD officers on the scene on February 9, 2020, particularly Fuentes and
        Soules, knew that the Mustang was not going to be towed to the impound lot and
        that they were not conducting an inventory or safety search of the vehicle and that
        they did not have a warrant to conduct any search of Mr. Wells’ vehicle or
        probable cause to otherwise justify a search or seizure, and despite that
        knowledge, Mr. Wells’ property was searched and seized by them anyway.

 SAC ¶ 73. The relevance of this paragraph, and the reason the Defendants misleadingly quoted

 only part of the paragraph, is because the ACPD Officers knew the Mustang was not going to be

 towed to the impound lot, had not yet taken custody of it, and did not follow procedure. Thus,

 their conduct on February 9, 2020, was, by default, a violation of the Fourth Amendment and Va.

 Code § 19.2-59, and the Inventory Search exception does not apply.

        While not binding precedent on this Court, Judge Chuang of the United States District

 Court for the District of Maryland examined a case with facts similar to the instant case and

 found the actions of those police officers flagrantly violated the Fourth Amendment in numerous

 ways. United States v. Johnson, No. TDC-16-0135, 2017 U.S. Dist. LEXIS 78035, at *45 (D.

 Md. May 22, 2017).

        To preempt a potential argument shift, should the Defendants attempt to shift and argue

 the Search Incident to Arrest, Automobile Exception, or Plain View exceptions apply, the Court

 should reject those arguments, also. The Search Incident to Arrest exception is not satisfied by

 the circumstances before the Court because Mr. Wells was not within reaching distance of the

 vehicle during the search and the ACPD Officers had no reason to believe evidence of the lack of

 license or expired temporary tag could be found within the vehicle. See Arizona v. Gant, 556

 U.S. 332, 335 (2009) and Cromartie v. Billings, 298 Va. 284, 298 (2020).

        The Automobile Exception does not apply because the ACPD Officers were in control of

 the situation, had Mr. Wells in handcuffs, and there was no probable cause to believe the vehicle

 contained contraband or evidence of criminal activity. See United States v. Graham, 686 F.
                                                 9
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  App'x 166, 173 (4th Cir. 2017). And finally, the Plain View Doctrine does not apply because the

  various items the ACPD Officers rummaged through were in Plaintiff’s trunk, not in plain view,

  no officer had a lawful right to access them, and there was no incriminating character of the

  items immediately apparent. See Nazario at *43 (E.D. Va. Aug. 9, 2022). Notably, the Rifle

  Plate was fully enclosed inside of an outer, soft armor carrier, which was inside Plaintiff’s trunk.

         Applying South Carolina towing and inventory procedures, the Defendants primarily rely

  upon United States v. Fort; it is substantially distinguishable. 313 F. App'x 665, 667 (4th Cir.

  2009). Furthermore, the Fort opinion resolves factual disputes which, at the present moment is

  inappropriate for the Defendants to request the Court to do. The case in Fort is an appeal after

  the criminal defendant pleaded guilty to possessing unlawful firearms and, thereafter, he moved

  the Court to suppress the evidence against him.

         Furthermore, the factual difference between when the inventory was unreasonable is

  distinguishable between the instant case and the Fort matter. In the instant matter, it was

  unreasonable for the ACPD Officers to rummage through Plaintiff’s property at the beginning;

  irrespective of whether the vehicle was going to be towed. The only actions necessitated by the

  facts available to the ACPD Officers on February 9, 2020, were that Mr. Wells ought to have

  been cited for the license and tag violations and Fuentes should have sent him on his way with

  the tow-truck driver. In Fort, the Court found that, in part, the vehicle contained facially obvious

  contraband, a grenade launcher and machine gun, in the officers’ plain view – it was not relevant

  whether Fort’s wife arrived. See United States v. Fort, 313 F. App'x 665, 668 (4th Cir. 2009).

  Mr. Wells had no contraband in plain view and had no contraband at all in his vehicle and he

  was not arrested.




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            Another defect in applying the Fort opinion to the instant case is that the Court in Fort

  appears to be applying the criteria of a combination of the Automobile Exception and the Plain

  View Exception rather than the Inventory Search Exception. In sum, Defendants’ reliance upon

  the Fort opinion is misplaced and should be disregarded.

            It does not pass Fourth Amendment muster to claim, as the ACDP Defendants imply, that

  each time an individual gets a traffic ticket requiring towing to his home, that the entire contents

  of his car can be seized as evidence. If that is the state of the Fourth Amendment, it is dead

  letter.



            SECTION III. C – CONSENT AND SAFEKEEPING.

            The ACPD Officers impermissibly rely upon two unpublished opinions as precedent in

  this case. United States v. Fort, 313 F. App'x 665, 668 (4th Cir. 2009) and United States v.

  Williams, Nos. 96-4222, 96-7523, 106 F.3d 394 (4th Cir. 1997). Such reliance should be

  disregarded by the Court.

            The ACPD Officers falsely state that Plaintiff “allowed” ACPD to place his property and

  firearms in “safekeeping.” Plaintiff did not consent or allow the police to do anything on

  February 9, 2020. SAC ¶¶ 42, 49, 52, 54, 55, and 65. Plaintiff was in handcuffs and requested

  the ACPD Officers allow him to keep his property. SAC ¶¶ 55, 56, 184, and 193.

            The ACPD Defendants list the lawfully owned property that Mr. Wells possessed on

  February 9, 2020: a pistol, a rifle, 150 rounds of ammunition, a smoke grenade, body armor,

  knives, and masks. This list is an effort to show the dangerous or hazardous nature of the items

  in Mr. Wells’ possession. (Dkt No. 60 at 22-23). Not one of those items is hazardous in the




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  sense used in the Fort opinion.6 They were all lawful items, lawfully owned, and not

  contraband. The smoke grenade and one of the masks, for example, are basically toys used in

  games of airsoft. The smoke grenade, for example, is sold commercially for $7.99 to airsofters

  and paintballers. Not one of those items is “inherently hazardous” and the vehicle was not

  impounded as those terms are used in the two unpublished opinions cited by Defendants and

  used by them as impermissible authority.

         The ACPD Defendants falsely assert, and fail to provide any support for such assertion,

  that Plaintiff consented to the placement of his property in safekeeping. Plaintiff’s easy-going

  demeanor and temperament, lack of resisting arrest, and cordially not wanting to take up the

  officers’ time should not be conflated with consent. Furthermore, Plaintiff’s signature on the

  safekeeping form demonstrated, only, that he received the form. There is no attestation of

  consent to searches or seizures. Dkt. No. 48-3.



         SECTION III. D – VIOLATION OF Va. CODE § 19.2-59.

         The Defendants claim, ipse dixit, that Count Five of the SAC should fail for the same

  reasons as they already argued. The Court should reject such attempt because, while the injury is

  an indivisible injury, the Commonwealth of Virginia has a separate and distinct policy reason for

  making its own prohibition of the ACPD Defendants’ conduct on February 9, 2020, and Plaintiff

  is permitted to plead alternative forms of recovery.

         The ACPD Defendants have not provided any argument why their searches and seizures

  without a warrant satisfy any exception to the Fourth Amendment or Va. Code § 19.2-59.


  6
   Fort discusses a short-barreled shotgun, a machine gun, and a grenade launcher which were
  unregistered and in plain view. United States v. Fort, 313 F. App'x 665, 666 (4th Cir. 2009).
  Mr. Wells had nothing remotely close to such contraband.
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  Furthermore, in applying that code section on a substantially similar fact pattern, the Virginia

  Supreme Court vindicated the prohibitions of such searches and seizures by reversing a motion

  to strike and directing the circuit court to hold a hearing on the assessment of damages, only.

  Cromartie v. Billings, 298 Va. 284, 309 (2020).



           SECTION IV7 – THE SECOND AMENDMENT.

           The ACPD Officers’ argue that Count II should be dismissed because Fuentes and Soules

  did not violate the Second or Fourteenth Amendment when the officers prohibited Mr. Wells

  from keeping and bearing his arms on February 9, 2020, and thereafter as they were held by the

  ACPD. Their primary argument is that it was not clearly established that Mr. Wells had an

  individual right to keep and bear arms “while on the public streets of Arlington County” in

  February 2020.



           SECTION IV. A – NO PROTECTIVE SWEEP.

           Fuentes did not conduct a protective sweep of Plaintiff’s Mustang on February 9, 2020.

  Plaintiff is not claiming he conducted such a sweep nor that such a sweep would be a violation of

  the Second Amendment. The vast bulk of this section is irrelevant to Plaintiff’s SAC and should

  be disregarded.

           Plaintiff’s well-pleaded allegations state that Fuentes had no reasonable suspicion to

  believe the firearms were evidence in any crime, no belief they were evidence of the license and

  expired temporary tag citations issued to Mr. Wells, and had no belief they were contraband or

  stolen. SAC ¶¶ 52, 53, 54, and 55. Count II is not alleging a temporary seizure to protect the


  7
      The Defendants’ memo reverts to Roman Numeral II in this section. Dkt. No. 60 at 24.
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  officers; the well-pleaded allegations are clear: The ACPD Officers explicitly prohibited Mr.

  Wells from keeping his lawfully purchased and owned firearms on February 9, 2020, prevented

  Mr. Wells from keeping and bearing them, prohibited him from open carrying them, and

  prohibited him from placing them into his lockable trunk so the vehicle and property could be

  towed back to his home. SAC ¶ 56. Mr. Wells’ right to open carry his unloaded pistol and rifle

  in his hands as he walked away has not been challenged by any Defendant and no Defendant has

  provided a single citation to any case that empowered the officers to prohibit Mr. Wells from

  open carrying his firearms nor to seize his firearms on February 9, 2020.

         Thereafter, the firearms were unlawfully seized and held by the ACPD until April 16,

  2021. SAC ¶¶ 53, 184, 189, and 194.



         SECTION IV. B – PLAINTIFF DID NOT CONSENT OR PERMIT THE
         SEIZURES.

         Providing no support whatsoever, Defendants falsely claim Plaintiff voluntarily chose to

  have his firearms placed in safekeeping. Defendants assert that while Mr. Wells was locked in

  handcuffs, surrounded by five or more officers, and behaving in a cordial and cooperative way,

  that somehow he permitted his firearms to be placed in safekeeping. Notably, Defendants do not

  refer the Court to any part of the February 9, 2020, recording or any document or case to support

  such a claim. That which is asserted without support can be disregarded without effort.

         Plaintiff explicitly tried to have the ACPD Officers give him his property and let him go

  on his way on February 9, 2020, on at least three occasions.8

  4:39 PM: “I can’t just like … get an Uber with that?”


  8
   Timestamp references are made to the timestamps on the video attached to the Defendants’
  Motion at Exhibit 1. Dkt. No. 60-1.
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  4:48 PM: “Can I, like, buy you dinner? Is there anything I can do to not get towed?”

  4:48:50 PM: “I would be for leaving everything in the trunk.”

  Nothing said by Plaintiff evinces consent. Instead, it demonstrated he was cooperative and

  cordial – such conduct should not be interpreted against Mr. Wells’ interests.

            When speaking alone, the officers resolve to take everything at 5:15 PM. While there

  was a discussion amongst themselves about whether they can give Mr. Wells an opportunity to

  have a friend with a trunk come by to transport Mr. Wells and his property, the conversation

  concluded with clear intent to seize his property in their police vehicles, “[h]e’s a fucking

  bullshitter, he doesn’t have anyone to come get him.”9 Dkt. No. 60-1 at 5:15 PM. The ACPD

  Officers had already made up their minds assuming throughout the video, and the rest of the

  investigation, that Mr. Wells was lying about everything, ignoring the context of practically

  everything he said, and concluding the most irrational conclusions at each step.

            Furthermore, the very little that can be seen in the video portion of the recording shows

  the officers had already began moving Mr. Wells’ property to their own police vehicles despite

  paying lip service to an instruction they received from a superior to give Plaintiff an opportunity

  to have a friend come to help him move his property.10



            SECTION IV. C – PROHIBITING MR. WELLS FROM KEEPING AND
            BEARING HIS ARMS VIOLATED THE SECOND AMENDMENT.

            Fuentes and Soules argue that there was no clearly established private right to keep and

  bear arms and cite to the Heller decision. The Heller decision clearly articulated an individual

  right to keep and bear arms in, at least, 2008. District of Columbia v. Heller, 554 U.S. 570, 595


  9
      Believed to be Lugasi.
  10
       The loading of Mr. Wells’ property into a police vehicle can be seen as early as 4:35 PM.
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  (2008). The Bruen and Frein decisions both provide a framework to demonstrate the fact that

  Heller did, in fact, stand for the individual right to keep and bear arms; whether on a street or in

  the home. New York State Rifle & Pistol Association, Inc., v. Bruen, 142 S. Ct. 2111 (2022);

  Frein v. Pa. State Police, 47 F.4th 247 (3d Cir. 2022). While both Bruen and Frein are 2022

  decisions, their analysis is included to demonstrate that the right of the individual to keep and

  bear arms, in a car, on his person, or in his home, was clearly articulated since the ratification of

  the Second Amendment and apply to both pistols and rifles.

         The reliance by the Defendants on the Seventh and Eighth Circuit opinions are

  misplaced. The Sutterfield matter involved a woman who was mentally ill and was involuntarily

  committed; the police had cause to believe she would likely harm herself or others and on that

  basis the officers took her firearms. Sutterfield v. City of Milwaukee, 751 F.3d 542, 547 (7th Cir.

  2014). The Walters opinion does not stand for the proposition that the Defendants claim.

         We do not foreclose the possibility that some plaintiff could show that a state
         actor violated the Second Amendment by depriving an individual of a specific
         firearm that he or she otherwise lawfully possessed for self-defense. However, on
         this record, Walters has failed to make such a showing.

  Walters v. Wolf, 660 F.3d 307, 318 (8th Cir. 2011). Furthermore, the facts of Walters are

  exceptionally different. In Walters, the plaintiff was a fugitive from justice with outstanding

  warrants when he was pulled over for the lack of a front license plate. Id at 309. During that

  traffic stop, the officer discovered that he was a fugitive from justice, the plaintiff was arrested,

  and his firearm was lawfully seized. Id.

         The instant case is substantially different. Mr. Wells has made clear allegations that there

  was no cause for the officers to take his firearms on February 9, 2020, and the ACPD Officers

  have failed to provide any exception to the Fourth Amendment or Second Amendment that

  justifies their seizure or their infringement on his clearly established right to keep and bear his
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  arms by ordering him not to open carry, as he was lawfully permitted to do; Mr. Wells not

  fighting or resisting arrest is not an indication of consent.



         SECTION V – FALSE IMPRISONMENT.

         Plaintiff’s SAC contains well-pleaded allegations against the ACPD Officers that on

  February 9, 2020, they either took over the false imprisonment initiated by Armstrong or

  initiated their own false imprisonment as their initially justifiable stop on suspicion of the license

  or tag citations went overlong and became a false imprisonment. Such facts are well pleaded to

  support either finding by the trier of fact, however, it seems the ACPD Officers request the Court

  to find their conduct constituted a continuation of Armstrong’s False Imprisonment.

         The ACPD Officers allege their detention of Plaintiff can be justified as a continuation of

  Armstrong’s detention; they request the Court to resolve a factual dispute between the ACPD

  Officers and Armstrong’s allegations. Such resolution of a factual dispute between the various

  Defendants is inappropriate on the instant motions. Furthermore, Plaintiff does contend the

  detention on February 9, 2020, was inappropriate or could be initially appropriate to issue the

  citations, but then was overlong and thus converted into a false imprisonment. See Nazario at

  *16 (E.D. Va. Aug 9, 2022) (“A stop that is justified at its inception may still be unconstitutional

  if its manner of execution unreasonably infringes interests protected by the Constitution.”)

         Furthermore, the ACPD Officers appear to rest upon and justify their detention of Mr.

  Wells based upon Armstrong’s False Imprisonment of Plaintiff. In that instance, the ACPD

  Officers are admitting that Armstrong’s False Imprisonment of Mr. Wells was continued by

  them. It is unreasonable to claim that the issuance of citations for the expired tag and license

  infraction should take approximately two hours and require five police officers.

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          SECTION VI – MALICIOUS PROSECUTION.

          Plaintiff’s SAC contains sufficient pleading to allege that the natural results of the ACPD

  Officers’ conduct was the prosecution of Plaintiff without probable cause, and thus malicious,

  instituted by or with the cooperation of each individual ACPD Officer, without probable cause,

  and each such prosecution was terminated in Mr. Wells’ favor. SAC ¶¶ 48-52, 59-62, 64-65,

  210-212. The ACPD Officers materially cooperated and participated in every aspect of the

  Malicious Prosecution, from the initial seizure of Mr. Wells’ property to the reports filled out

  providing either substantially misleading notes or simple false statements, such as reading of

  Plaintiff’s notes regarding Bulletproof Choline Force products and asserting that Plaintiff had a

  list of chemicals that could make his body bulletproof. SAC ¶¶ 169-171, 210-211. The

  reasonable officer would know that the natural results of their conduct of providing such false or

  misleading reports would lead to Mr. Wells being subjected to Malicious Prosecution. Finally,

  the officers cooperated with each stage of the prosecution thereafter and cannot, now, evade

  liability by claiming they did not take part in it.

          WHEREFORE, Plaintiff Curtis Wells respectfully requests the Court DENY ACPD

  Officers’ Motion to Dismiss (Dkt. No. 59), filed on behalf of Defendants Fuentes, Lugasi,

  Soules, Kline, and Vanak, with prejudice, and for such other or additional relief as the Court may

  deem reasonable and just.

  Dated November 6, 2022.

                                                  Respectfully submitted,

                                                  Curtis Wells,

                                                  By:_____/s/___________________________
                                                  Counsel

                                                  Matthew A. Crist, VSB No. 85922
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                                    CERTIFICATE OF SERVICE

          I hereby certify on this day, November 6, 2022, that the foregoing paper was filed and

  served with the Clerk of Court via the Court’s CM/ECF system, which will send notice of such

  filing to all registered users.



                                               _____/s/___________________________
                                               Matthew A. Crist
                                               Counsel for Plaintiff




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